

ORDER

PER CURIAM.
AND NOW, this 15th day of July, 2005, Joe Carl Ashworth having been disbarred by consent from the practice of law in the State of Maryland by Order of the Court of Appeals of Maryland dated January 5, 2005; the said Joe Carl Ashworth having been directed on April 19, 2005, to inform this Court of any claim he has that the imposition of the identical or comparable discipline in this Commonwealth would be unwarranted and the reasons therefor; and no response having been filed, it is
ORDERED that Joe Carl Ashworth is disbarred from the practice of law in this Commonwealth, and he shall comply with all the provisions of Rule 217, Pa.R.D.E.
